          Case 2:04-cr-00069-MCE Document 82 Filed 06/27/05 Page 1 of 2


 1   WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
 2   400 Capitol Mall, Suite 1100
     Sacramento, CA 95814
 3   (916) 444-7900
     (916) 444-7998 fax
 4
     Attorney for Defendant Larry Wells
 5
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA            )                 CASE NO.        Cr. S-04-0069-MCE
                                         )
12              Plaintiff,               )
                                         )
13        v.                             )                 STIPULATION AND
                                         )                 (PROPOSED) ORDER
14   LARRY WELLS, JEFFREY WELLS, and )                     TO CONTINUE STATUS CONFERENCE
     HENRY KAISER,                       )
15                                       )                 Date: June 21, 2005
                Defendants.              )                 Time: 8:30 a.m.
16   ___________________________________ )
17
18            With the Court’s permission, defendants LARRY WELLS and JEFFREY WELLS and
19   plaintiff UNITED STATES OF AMERICA, by and through their undersigned counsel, do hereby
20   stipulate and agree to vacate the status conference, presently set for June 21, 2005 at 8:30 a.m.,
21   and reset it for July 26, 2005 at 8:30 a.m.
22            This rescheduling is necessary because of the pendency of several complicated discovery
23   issues in Magistrate’s Court, including a protracted battle over two pending subpoenas duces
24   tecum. The parties are presently attempting to resolve at least some of these pending issues
25   informally.
26   //
27   //
28   //
       Case 2:04-cr-00069-MCE Document 82 Filed 06/27/05 Page 2 of 2


 1          It is further stipulated and agreed that time will continue to be excluded for the same
 2   reasons articulated in our prior court appearances.
 3
 4   DATED: June _____, 2005                       /s/ William J. Portanova
                                                   WILLIAM J. PORTANOVA
 5                                                 Attorney for Defendant LARRY WELLS
 6
 7   DATED: June _____, 2005                       /s/ Wayne L. Ordos
                                                   WAYNE ORDOS
 8                                                 Attorney for Defendant JEFFREY WELLS
 9
10   DATED: June _____, 2005                       /s/ Stephen R. Lapham
                                                   STEPHEN R. LAPHAM
11                                                 Assistant United States Attorney
12
13
     IT IS SO ORDERED.
14
15   Dated: June 24, 2005
16
17
                                                  ___________________________________
18                                                MORRISON C. ENGLAND, JR
19                                                UNITED STATES DISTRICT JUDGE

20
21
22
23
24
25
26
27
28

                                                    -2-
